           Case 3:19-cv-00330-JWD-RLB                       Document 1-3     05/24/19 Page 1 of 25


                                                F. Allen Johnston, M.D.
                                                    Orthopedic Surgery
• Ph'/om.i/i oj Uv At/ttiiistu                        2930 Canal Street
     lit,mi uj (          SHideous                        Suite 301
•    I hpfamntr til thf          .-\,,uirt/;\       New Orleans. LA 701 19
     >tl I hsiiMi/i Eiiihuif/»x Ph;i,7>w<               504-821-2574
                                                                                                     L


FREDDIE ALEXANDER
4/8/2019


Mr. Alexander comes in today tor reevaluation. His pains in his lower back and lower
extremities continue. He was injured in September of 2017. He is still experiencing
some radicular symptoms into the thighs. He has been taking pain medication from Dr.
Melancon, who is his primary care physician. He has an L2-3 disc herniation, along with
posterior bulging at L3-4. His pains have not improved despite conservative measures.



RECOMMENDATIONS:
          1 . We will recommend an L4-5 interlaminar epidural steroid injection for the bulges
              at L3-4 and L4-5, as well as the L2-3 disc herniation.
          2. We will have him return back for follow-up.
          3. He will continue receiving medicines from his primary care doctor.




    F. Alleyflpknston. M.D.
    PP/tr/ VI

    cc:            Peter Brigandi, Attorney at Law


    DD: 04/09/19
    DT: 04/11/19




                                                                                       EXHIBIT B
             Case 3:19-cv-00330-JWD-RLB                Document 1-3   05/24/19 Page 2 of 25


                                         F. Allen Johnston, M.D.
                                              Orthopedic Surgery
* Diphmto of tbf American                    2930 Canal Street
    Rocml DjOrfhoptieeht Sun/tuts               Suite 301
•   Diph/mrte of the .baerican Academy    New Orleans, LA 701 19
    ofDisability Etninathtg Physicians         504-821-2574




FREDDIE ALEXANDER
02/25/2019


Mr. Alexander comes in today for evaluation. He has some questions about the injections. He
was satisfied after we had a discussion. His back pain is not improving overall. He was injured
in September of 201 7. He states his pains continue to be intermittent.


PHYSICAL EXAMINATION: He has discomfort with both flexion and extension.

RECOMMENDA TIONS:
       1.   We will work on getting him scheduled as soon as possible.
      2.    We will have him return back for follow-up.




            ni


F. All!                   n, M.D.
PP/ab


cc:              eter arigandi, Attorney at Law


DD: 02/26/2019
DT: 02/27/2019
      Case 3:19-cv-00330-JWD-RLB                      Document 1-3      05/24/19 Page 3 of 25


                                           F. Allen Johnston, M.D.
                                               Orthopedic Surgery
• Oipkmttf of the Amman                          2930 Canal Street
  boarti of Qrtfwpoedic Suryom                       Suite 301
• Dtyiomatt oi tin Amtncm Atadttux             New Orleans. LA 701 19
  nj Ptsabi/i/Y linthuittng Plp stciaiis           504-821-2574




FREDDIE ALEXANDER
1/28/2019


Mr. Alexander comes in today for reevaluation. He states that his symptoms are better at
this point, but his back pain will still become severe. He is a candidate for an L4-5
interlaminar epidural steroid injection. He was injured in September of 20 1 7. He
receives pain medication from Dr. Melancon, who is his primary care doctor.



RECOMMENDA TIONS:
      1 . We will have him return back for follow-up.
      2. Without the injections, he is at maximum medical improvement from an
            orthopedic standpoint.




              n
              1    \
              \

F. Allel                   tOttfM.D.
PP/tr
                       \
                        %



cc:        P#er Brigandi, Attorney at Law
              •v

DD: 01/28/19
DT: 01/30/19
        Case 3:19-cv-00330-JWD-RLB                  Document 1-3    05/24/19 Page 4 of 25

                                       F. Alien Johnston, M.D.
                                           Orthopedic Surgery
• Diplomat* ofthe American                   2930 Canal Streel
  Board ofQrtbopaedir Sutgtom                   Suite 301
                                                                                    " f . f j r*
' Diplomatt oflht American Academy         New Orleans, LA 701 19
  ofDisability Evaluating Physicians           504-821-2574
                                                                                I




FREDDIE ALEXANDER
12/17/2018

Mr. Alexander comes in today for reevaluation. His symptoms continue. He has yet to
be approved for his injection. We have recommended an L4-5 interlaminar epidural
steroid injection. He was injured in September of 2017. He receives pain medicine from
Dr. Melancon in the form of Hydrocodone. He states that he was told to discontinue the
Robaxin by his gastrointestinal doctor due to stomach upset.

PHYSICAL EXAMINATION: His exam is unchanged.



RECOMMENDA TIONS:
      1. We will work on getting him scheduled for his procedure.
      2. He will return back in six weeks for follow-up or earlier if his injections are
         approved.
      3. He will continue receiving medicines from Dr. Melancon.
      4. Without the injections he is at maximum medical improvement from an
         orthopedic standpoint.




F. Allei               in, M.D.
PP/tr


cc:        Pfcer Brigandi, Attorney at Law

DD: 12/17/18
DT: 12/19/18
           Case 3:19-cv-00330-JWD-RLB                       Document 1-3   05/24/19 Page 5 of 25


                                             F. Allen Johnston, M.D.
                                                 Orthopedic Surgery
• Difdtumlr of ftu .h/iciiuin            .         2930 Canal Street                       f .
    Hoard of Otlhofwdh Staytons                        Suite 301
•   DildomiU of the . \wmmn . L udatty           New Orleans, LA 701 19
    of Dhabifily iimfMutiny Physiihin*               504-821-2574




FREDDIE ALEXANDER
11/05/2018


Freddie Alexander comes in today for evaluation. He has yet to he approved for his
injection. He was injured in September of 201 7. He states that his pains are not
improving. He is interested in having the epidural performed. He has a bulge at L3-4 as
well as ajtfiSc herniation at L2-3. We have recommended the L4-5 interlaminar ESI to try
to cover the L2-3 and L3-4 levels. We will have him return back for follow-up.



F. Allek lohmkm, M.D.
FAJ bl ^ A\
cc:            :ter Brigandi, Attorney at Law


DD:       11/05/2018
DT: 1 1/07/201 S
               Case 3:19-cv-00330-JWD-RLB                           Document 1-3   05/24/19 Page 6 of 25



                                                    F. Allen Johnston, M.D.
                                                          Orthopedic Surgery
 !,                    uf it*         m:                2930 i anal Sircci
 bi'ur i ../ < K'ftiipa, '.!        jijigpHI -              Si:tlC 30 1
 r\t I.,:,,*- t<i fh                       AvrhXi     New Orleatw. 1 A "0 1 19
                                                           so9->:i-?..s"a




FREDDIE ALEXANDER
09/24/2018


Mr. Alexander comes in today for evaluation. He stales his symptoms continue. He is interested
in the lumbar injections. He was injured in September of 201 7. He has been on Hvdrocodone
from Dr. Thomas Melancon. He performs home exercises. He has yet to be approved for his
lower back brace. He has a bulging disc a' 1.3-4  w ell as a disc herniation to the right side at
L2-3.


PHYSIC XL EXAMINA 11ON: He has pair w ith flexion arid extension at the waist. He has
negative straight leg raise testing. He has tenderness to touch in the lumbosacral midline. He is
able to heel and toe walk without any difficulty. He has a normal gait. Extension causes more
pain than flexion.


RECOMMENDA TlON$\
      1.           We will have him return back for io! low-up.
      2.           We will work on getting him scheduled for his injections as soon as possible.
      3.           He will continue his medication from Dr. Melancon.
      4.           Without the injections, he is at tnr. Milium medical improvement from an orthopedic
                   standpoint
      5.           As a reminder, he was doing well prior to tins injury in question, as he had a full recovery
                   from the 2016 accident.
      6.           $e will return hack in six weeks o. lor his injections. whichever comes first.
                   ( \                                           '
                           l
                   \ f
                   -2
           .       \            y
                            s
               \
F. Allefytfbiuiston. M.D.
pp/ab / y
cc:                    Peter Brigand i. Attorney at Law


DD: 09/24/20 IK
DT: 09/25/2018
           Case 3:19-cv-00330-JWD-RLB               Document 1-3   05/24/19 Page 7 of 25


                                       F. Allen Johnston, M.D.
                                           Orthopedic Surgery
* DiphuriaU of/be Amaiam
                                          2930 Canal Street
  board ofOrthopaedic Satgtoas
                                             Suite 301
  Dtphntate offlu AmtricanAtadttay      New Orleans, LA 701 19
  ofDisalnfity Evaluating Physicians
                                              504-821-2574



                                                                                            Wt
FREDDIE ALEXANDER
08/13/2018

Mr. Alexander comes in today for evaluation. He has yet
                                                        to be approved for the lumbar epidural.
He was injured in September of 2017. He has been taking Tramad
                                                                  ol for his discomfort. He was
recently given a prescription for Hydrocodone from his primar
                                                              y care doctor. He is performing
home exercises.

PHYSICAL EXAMINATION: His exam is unchanged.

RECOMMENDATIONS:
      1.    We will have him return back for follow-up.
      2.    He is at maximum medical improvement without the injectio
                                                                      ns.
      3.    A pharmacy query is appropriate.




F.                 (ton, M.D.
PP/ab


cc:         >eter Brigandi, Attorney at Law

DD: 08/13/2018
DT: 08/15/2018
           Case 3:19-cv-00330-JWD-RLB               Document 1-3    05/24/19 Page 8 of 25

                                       F. Allen Johnston, M.D.
                                           Orthopedic Surgery
• Diplomats ofthe American                2930 Canal Street
  Board ofOrtlnpaedic Surgeons                Suite 301
• Diplomats ofthe American Academy      New Orleans, LA 701 19
  ofDisability Evaluating Physicians        504-821-2574




FREDDIE ALEXANDER
05/16/2018


Mr. Alexander comes in today for evaluation. His pains continue. He is a candidate for an L4-5
interlaminar epidural steroid injection. We also recommended a lower back brace. He was
injured on September 18, 2017. He has a disc herniation at L2-3 with a bulge at L3-4.


PHYSICAL EXAMINATION: His exam is unchanged.


RECOMMENDATIONS:
      1.   We would like for him to get into formal physical therapy.
      2.   We will prescribe him Tramadol.
      3.   A pharmacy query is appropriate.
      4.   He states that he is no longer receiving medicine from his primary care doctor.
      5.   We>vill also reorder the lower back brace.




F. Allen JdnMm, M.D.
PP/ab       / *1

cc:        Peter Brigandi, Attorney at Law


DD: 05/17/2018
DT: 05/19/2018
           Case 3:19-cv-00330-JWD-RLB                Document 1-3   05/24/19 Page 9 of 25

                                         F. Allen Johnston, M.D.
                                             Orthopedic Surgery
• Diplomate ofthe American                  2930 Canal Street
  board of Orthopaedic Surgeons                 Suite 301
• Diplomate ofthe American Academy        New Orleans, LA 701 19
  ofDisability 'Evaluating Pltysicians        504-821-2574




FREDDIE ALEXANDER
04/04/2018


Mr. Alexander comes in today for evaluation regarding symptoms related to a September 18,
2017, motor vehicle accident. He was a restrained driver at a complete stop and rear-ended by
an 18-wheeler. He was dazed. A police report was filed.


He did not go to a hospital, but he followed up with therapy and was given some medications.
He also had an MRI of his lower back that revealed a posterior protrusion/subligamentous
herniation to the right at L2-3 along with a posterior bulge at L3-4.


PAST MEDICAL HISTORY: Pertinent for hypertension and diabetes.


PAST SURGICAL HISTORY: Pertinent for lithotripsy bilaterally in the last couple of months.


MEDICA TIONS: Lisinopril, Hydrocodone, Glyburide, Potassium, and Flomax.


ALLERGIES: Flexeril.


CIGARETTES: None.


WORK HISTORY: He works as a driver for Southern Freight Line.


In regards to his lower back, he had a motor vehicle accident in 2016. After conservative care,
his pain resolved and he was doing well until the injury in question. Currently, his pain is a 7/10.
He has discomfort down both legs but worse on the left side. He has no bowel or bladder control
problems. Bending increases his back pain.


PHYSICAL EXAMINATION: On exam, this is a 55-year-old male who has more pain with
extension and mild pain with flexion. Straight leg raising is negative. He is able to heel and toe
walk without difficulty. He is tender to touch over the lumbosacral midline. He has a normal
gait.


IMPRESSION:
      1.   Chronic lower back pain with L2-3 disc herniation and bulge at L3-4.
     2.    Intermittent lower extremity symptoms, worse on the left side.
                   Case 3:19-cv-00330-JWD-RLB              Document 1-3     05/24/19 Page 10 of 25
~   1



                                               F. Allen Johnston, M.D.
                                                   Orthopedic Surgery
        • Dipkmate ofthe American                 2930 Canal Street
         board of Orthopaedic Surgeons                Suite 301
        • Diplomate ofthe American Academy      New Orleans, LA 701 19
          ofDisability Evaluating Physicians        504-821-2574



                                                                                        t
                                                                                            S*
        FREDDIE ALEXANDER
        04/04/2018
        Page 2


        RECOMMENDATIONS:
              1.   He is a candidate for an L4-5 interlaminar epidural steroid injection.
              2.   We will also recommend a low back brace for comfort, support, and pain management
                   while up and around as well as to help improve function with less pain and provide
                   adequate lumbar stability and proper postural support.




                      I
        F. Alleruddhnston, M.D.
        PP/ab /            !
        cc:        Peter Brigandi, Attorney at Law


        DD: 04/05/2018
        DT: 04/06/2018
        Case 3:19-cv-00330-JWD-RLB             Document 1-3          05/24/19 Page 11 of 25



PATIENT:      Alexander, Freddie                            MAGNOLIA DIAGNOSTICS, INC.
DOB:                                                        2700 CADIZ STREET
MR#: 18-26183                                               NEW ORLEANS, LA 70115
DATE OF ACQUISITION: 1/15/18                                (504) 891-1975
PHYSICIAN: Dunn                                             (504) 891-1901 (FAX)



        HIGH FIELD, 1.5 TESLA, MR EXAMINATION OF THE LUMBAR SPINE
Clinical Information:

Low back pain and pain in both legs. Date of injury last September 2017.

Technique:

Sagittal and axial cuts using T1W and T2W sequences.

Findings:                                                    —

At L1-L2, there is no evidence disc herniation or spinal stenosis.


At L2-L3, there is posterior protrusion-subligamentous disc herniation in the right lateral aspect
measuring 3.5 mm in AP diameter, causing narrowing of the right inferior neural foramen.


At L3-L4, posterior bulging disc is seen more prominent posterolaterally, touching the thecal
sac.



At L4-L5, diffuse posterior bulging disc is seen, touching the thecal sac.


At L5-S1, there is no evidence of disc herniation or spinal stenosis.


No fracture, dislocation,epidural hematoma or neoplastic process. The conus is normal, located
at the T12 level. The facet joints are unremarkable.

Impression:

A. At L2-L3, there is posterior protrusion-subligamentous disc herniation in the right lateral
aspect measuring 3.5 mm in AP diameter, causing narrowing of the right inferior neural
foramen.
B. At L3-L4, posterior bulging disc is seen more prominent posterolaterally, touching the thecal
sac.



Electronic signature: Lorenzo M. Farolan, M.D
        Case 3:19-cv-00330-JWD-RLB                Document 1-3         05/24/19 Page 12 of 25
                          t



                     Westbank Physicians Rehab
       4140 WESTBANK EXPRESSWAY • MARRERO, LOUISIANA 70072 • PHONE: 504-341-4822 • FAX: 504-347-7752




                                        fl] CONFIDENTIAL


                                             March 2, 2018




Peter Brigandi, Attorney at Law
1 630 Franklin Avenue
Gretna, LA 70053


RE:    Freddie Alexander
       SS#
       D/A     September 18, 2017


Dear Mr. Brigandi,


CHIEF COMPLAINT: The patient comes in complaining of back pain, bilateral wrist and hand
pain, bilateral leg pain and headaches.


INTERIM HISTORY: Mr. Alexander is a 54-year-old male patient who is being followed in the
office for injuries related to a motor vehicle accident that occurred on September 18, 2017. On
this evaluation in the office, he is complaining of constant back pain in the 8.5/10 range and
constant bilateral wrist, hand and leg pain in the 8.5/10 range. He is complaining of off and on
headaches. There is no associated dizziness, nausea or vomiting with his headaches. He states his
pain is aggravated by any and all activity. He complains of having trouble sleeping at night due
to his pain. There are no complaints of bowel trouble or bladder trouble on this visit. There are
no new accidents to report. He states the treatment and medication prescribed here in the office is
helping.


PHYSICAL EXAMINATION: This patient was seen by Dr. David Dunn. Vital signs: BP:
146/80. P: 45.
NECK: There is good range of motion of the cervical spine. There are no muscle spasms noted
in the cervical paraspinous muscles.                                                           '
BACK: There is pain with range of motion of the lumbar spine with tenderness noted in the lumbar
midline region.    There is tenderness and muscle spasms palpated bilaterally in the lumbar
paraspinous muscles. There is lumbar pathology by MRI.
CHEST: The chest is nontender.
HEART: The heart shows a regular rate and rhythm.
LUNGS: The lungs are clear to auscultation and percussion.
EXTREMITIES: There is pain with range of motion of the bilateral hands and wrist with
tenderness noted. There is pain with range of motion of the bilateral legs with tenderness noted.
         Case 3:19-cv-00330-JWD-RLB                   Document 1-3                   05/24/19 Page 13 of 25


                       Westbank Physicians Rehab
         4140 WESTBANK EXPRESSWAY • MARRERO, LOUISIANA 70072 • PHONE: 504-341-4822 • FAX: 504-347-7752


                                                      #V
Alexander, Freddie                                                        rrn
                                               k-£j            3 $ fcli.Pl 5 ii ,H
Page 2


NEURO:     Deep tendon reflexes were 2+ and equal. Straight leg raising is negative bilaterally.
Strength, motor and sensation exams are normal.


RECOMMENDATIONS:
  1. The patient is gfting to be discharged today to orthopedics for further evaluation and
         treatment.
   2.    The patient is more than welcome to return should he have any recurring problems.



                                             David Dunn. M.D.
                                                       fS  a

                                  I




                                                                                /
            Case 3:19-cv-00330-JWD-RLB           Document 1-3    05/24/19 Page 14 of 25

                                   CANAL radiology laboratory
                                    2930 CANAL STREET\ SUITE 200
                                      NEW ORLEANS, LA 70119
                                            (504) 821-2574




Patient:        Freddie Alexander                                            BD

Exam #:         17-2417-WB


Date:           9/25/17


Doctor:         DUNN


DIAGNOSIS: Pain/trauma.


X-RAY CERVICAL SPINE, 2 VIEWS:           Positive for moderate degenerative disc disease atC4-5
and C5-6. Disc space volume loss with minor posterior spondylosis formation and anterior spurring.
Reversal of the    normal lordotic curve    would suggest muscular spasm.     Otherwise   remaining
intervertebral disc spaces and bone structures are normal, and the paraspinal soft tissues are
unremarkable. There is osteoarthritis ofthefacetjoints at all levels.


IMPRESSION:                ;   i




  1.    Osteoarthritis ofthefacetjoints at all levels.
  2.    Moderate degenerative disc disease at C4-5 and C6-7. Correlation with MRI is suggested to
        rule out spinal orforaminal stenosis.                               .
  3.    Reversal ofthe normal lordotic curve ofthe cervical spine indicating muscular spasm.



THORACIC SPINE SERIES, 2 VIEWS: AP and lateral views of the thoracic spine were obtained.
Normal for alignment. No accentuated kyphosis or scoliosis. No evidence offracture or lytic lesion.
Normal intervertebral disc spaces with no significant spurformation. No abnormality ofthe paraspinal
soft tissues. No abnormality ofthe costovertebraljoints.

IMPRESSION: Normal thoracic spine.
        Case 3:19-cv-00330-JWD-RLB                 Document 1-3         05/24/19 Page 15 of 25

                     Westbank Physicians Rehab
       4140 WESTBANK EXPRESSWAY • MARRERO, LOUISIANA 70072 • PHONE: 504-341-4822 • FAX: 504-347-7752




                                            February 2, 2018

                          t




Peter Brigandi, Attorney at Law
1630 Franklin Avenue
Gretna, LA 70053


RE:    Freddie Alexander
       SS#
       D/A      September 18, 2017


Dear Mr. Brigandi,


CHIEF COMPLAINT: The patient comes in complaining of back pain, bilateral wrist and hand
pain, leg pain and headaches.


INTERIM HISTORY: Mr. Alexander is a 54-year-old male patient who is being followed in the
office for injuries related to a motor vehicle accident that occurred on September 18, 2017. On
this evaluation in the office, he is complaining of off and on back pain in the 6/10 range. He is
complaining of off and on headaches. There is no associated dizziness, nausea or vomiting with
his headaches. He is coftiplaining of continued off and on pain in his wrists, hands and legs. He
states his pain is aggravated by any and all activity. He complains of having trouble sleeping at
night due to his pain. There are no complaints of bowel trouble or bladder trouble on this visit.
There are no new accidents to report. He states the treatment and medication prescribed here in
the office is helping.


PHYSICAL EXAMINATION: This patient was seen by Dr. David Dunn.
NECK: There is good range of motion of the cervical spine. There are no muscle spasms noted
in the cervical paraspinous muscles.
BACK: There is pain with range of motion ofthe lumbar spine with tenderness noted in the lumbar
midline region. There is tenderness and muscle spasms palpated bilaterally in the lumbar
paraspinous muscles. There is lumbar pathology by MRI.
CHEST: The chest is nontender.
HEART: The heart shows a regular rate and rhythm.
LUNGS: The lungs are clear to auscultation and percussion.
EXTREMITIES: There is pain with range of motion of the bilateral wrists and hands with
tenderness noted. The lower extremities are within normal limits. There is no tenderness, bruising
or swelling noted.
         Case 3:19-cv-00330-JWD-RLB                Document 1-3         05/24/19 Page 16 of 25

                       Westbank Physicians Rehab
         4140 WESTBANK EXPRESSWAY • MARRERO, LOUISIANA 70072 • PHONE: 504-341-4822 FAX: 504-347-7752



Alexander, Freddie
Page 2                                                                                                     !
                                                                                                 ' J ' "i'ci,



NEURO: Deep tendon reflexes were 2+ and equal. Straight leg raising is negative bilaterally.
Strength, motor and sensation exams are normal.


REVIEW OF MRI REPORTS: The MRI reports were received and reviewed.
In the MRI of the lumbar spine, the impression is:
    1.   At L2-L3 there is posterior protrusion, subligamentous disc herniation in the right lateral
         aspect measuring 3.5 mm in the AP diameter causing narrowing of the right inferior neural
         foramen.
   2.    At L3-4 posterior bulging of disc is seen more prominent posterolaterally touching the
         thecal sac.


It is my medical opinion based on the patient's history and physical examinations; the findings in
the MRI ofthe lumbar spine dated January 1 5, 201 8 were causally related, with a reasonable degree
of medical certainty, to the accident dated September 18, 2017

RECOMMENDATIONS:
   1.    The patient is to continue with his medication as prescribed and directed.
   2.    The patient is gi\en a referral for orthopedic evaluation and treatment.
   3. The patient is asked to continue with his conservative treatment program here in the office.
   4. The patient is asked to return in four weeks for a follow up visit with the physician.



                                            David Dunn, M.D.

                                                         7
        Case 3:19-cv-00330-JWD-RLB                Document 1-3         05/24/19 Page 17 of 25


                     Westbank Physicians Rehab
       4140 WESTBANK EXPRESSWAY • MARRERO, LOUISIANA 70072 • PHONE: 504-341-4822 • FAX: 504-347-7752




                                           January 18, 2018




Peter Brigandi, Attorney at Law
1630 Franklin Avenue
Gretna, LA 70053


RE:    Freddie Alexander
       SS#
       D/A     SeptembSr 18, 2017

Dear Mr. Brigandi,

CHIEF COMPLAINT:             The patient comes in complaining of back pain, bilateral wrist pain,
bilateral hand pain, bilateral leg pain and headaches.


INTERIM HISTORY: Mr. Alexander is a 54-year-old male patient who is being followed in the
office for injuries related to an accident that occurred on September 18, 2017. On this evaluation
in the office, he is complaining of constant back, bilateral wrist, bilateral hand and bilateral leg
pain in the 9/10 range. He is complaining of constant daily headaches. There is no associated
dizziness, nausea or vomiting with his headaches. He states his pain is aggravated by any and all
activity. He complains of having trouble sleeping at night due to his pain. There are no complaints
of bowel trouble or bladder trouble on this visit. There are no new accidents to report. He states
the treatment prescribed here in the office is helping.


PHYSICAL EXAMINATION: This patient was seen by Dr. David Dunn. Vital signs: BP:
169/109. P: 63.
NECK: There is good range of motion of the cervical spine. There are no muscle spasms noted
in the cervical paraspinons muscles.
BACK: There is pain with range of motion ofthe lumbar spine with tenderness noted in the lumbar
midline region and the lumbar paraspinous muscles.
CHEST: The chest is nontender.
HEART : The heart shows a regular rate and rhythm.
LUNGS: The lungs are clear to auscultation and percussion.
EXTREMITIES: There is pain with range of motion of the bilateral wrist and hands with
tenderness noted. There is pain with range of motion of the bilateral legs with tenderness noted.
NEURO: Deep tendon reflexes were 2+ and equal. Straight leg raising is negative bilaterally.
Strength, motor and sensation exams are normal.
        Case 3:19-cv-00330-JWD-RLB                Document 1-3         05/24/19 Page 18 of 25


                     Westbank Physicians Rehab
       4140 WESTBANK EXPRESSWAY • MARRERO, LOUISIANA 70072 • PHONE: 504-341-4822 • FAX: 504-347-7752




                                           December 6, 2017




Peter Brigandi, Attorney at Law
1630 Franklin Avenue *
Gretna, LA 70053


RE:    Freddie Alexander
       SS#
       D/A     September 18, 2017


Dear Mr. Brigandi,


CHIEF COMPLAINT:             The patient comes in complaining of back pain, bilateral hand pain,
bilateral wrist pain and bilateral leg pain.


INTERIM HISTORY: Mr. Alexander is a 54-year-old male patient who is being followed in the
office for injuries related to an accident that occurred on September 18, 201 7. On this evaluation
in the office, he is complaining of constant back, bilateral hand and wrist and leg pain in the 8/10
range. He states his pain is aggravated by any and all activity. He complains of having trouble
sleeping at night due to his pain. He is complaining of numbness and tingling in his legs. There
are no complaints of bowel trouble or bladder trouble on this visit. There are no new accidents to
report. He states the treatment and medication prescribed here in the office is helping.
                          9

PHYSICAL EXAMINATION: This patient was seen by Dr. David Dunn. Vital signs: BP:
130/99. P: 77.
NECK: There is good range of motion of the cervical spine. There are no muscle spasms noted
in the cervical paraspinous muscles.
BACK: There is pain with range of motion of the lumbar spine with tenderness noted in the lumbar
midline region. There is tenderness and muscle spasms palpated bilaterally in the lumbar
paraspinous muscles.
CHEST: The chest is nontender.
HEART: The heart shows a regular rate and rhythm.
LUNGS: The lungs are clear to auscultation and percussion.
EXTREMITIES: There is pain with range of motion of the bilateral hands and wrists with
tenderness noted. There is pain with range of motion of the bilateral legs with tenderness noted.
The patient is complaining of tingling in the legs.
         Case 3:19-cv-00330-JWD-RLB                 Document 1-3         05/24/19 Page 19 of 25


                       Westbank Physicians Rehab
         4140 WESTBANK EXPRESSWAY • MARRERO, LOUISIANA 70072 • PHONE: 504-341-4822 • FAX: 504-347-7752



Alexander, Freddie
Page 2


NEURO:     Deep tendon jeflexes were 2+ and equal.            Straight leg raising is negative bilaterally.
Strength, motor and sensation exams are normal.


RECOMMENDATIONS:
   1.    The patient is to continue with his medication as prescribed and directed.
   2.    The patient is given a referral for MRI of the lumbar spine and cervical spine.
   3.    The patient is asked to continue with his conservative treatment program here in the office.
   4.    The patient is asked to return in four weeks for a follow up visit with the physician.



                                            David Dunn, M.D.



                                                                                              ** >•v
                                                                                        i '
                        WflSTBAINK rHYSHJlANS HJfcJtiAB
        Case 3:19-cv-00330-JWD-RLB
       4140 WESTBANK EXPRESSWAY         Document
                             MARRERO, LOUISIANA       1-3 05/24/19 Page 20 of 25
                                                70072 • PHONE: 504-341-4022 - FAX: 504-347-7752


                                                                                       QJCu




                                          October 9, 2017




Peter Brigandi, Attorney at Law
801 Kepler Street
Gretna, LA 70053


RE:    Freddie Alexander
       SS#
       D/A     Septembtr 18, 2017

Dear Mr. Brigandi,


CHIEF COMPLAINT: The patient comes in complaining of back pain, leg pain and hand and
wrist pain.


INTERIM HISTORY: Mr. Alexander is a 54-year-old male patient who is being followed in the
office for injuries related to an accident that occurred on September 18, 2017. On this evaluation
in the office, he is complaining of constant back pain in the 8/10 range and constant bilateral hand,
wrist and leg pain in the 8-9/10 range. He states his pain is aggravated by any and all activity. He
complains of having trouble sleeping at night due to his pain. He is complaining of numbness in
his legs. There are no complaints of bowel trouble or bladder trouble on this visit. There are no
new accidents to report. He states the treatment prescribed here in the office is helping.

PHYSICAL EXAMINATION: This patient was seen by Dr. David Dunn. Vital signs: BP:
163/96. P: 66.
NECK: There is good range of motion of the cervical spine. There are no muscle spasms noted
in the cervical paraspinous muscles.
BACK: There is pain with range of motion of the lumbar spine with tenderness noted in the lumbar
midline region. There is tenderness and muscle spasms palpated bilaterally in the lumbar




paraspinous muscles.1
CHEST: The chest is nontender.
HEART : The heart shows a regular rate and rhythm.
LUNGS: The lungs are clear to auscultation and percussion.
EXTREMITIES:       There is pain with range of motion of the bilateral hands and wrists with
tenderness noted. There is pain with range of motion of the bilateral legs with tenderness noted.
NEURO: Deep tendon reflexes were 2+ and equal. Straight leg raising is negative bilaterally.
Strength, motor and sensation exams are normal.
          Case 3:19-cv-00330-JWD-RLB                Document 1-3         05/24/19 Page 21 of 25


                       Westbank Physicians Rehab
         4140 WESTBANK EXPRESSWAY • MARRERO, LOUISIANA 70072 • PHONE: 504-341-4822 • FAX: 504-347-7752



Alexander, Freddie
Page 2


NEURO: Deep tendon reflexes were 2+ and equal. Straight leg raising is negative bilaterally.
Strength, motor and sensation exams are normal.

RECOMMENDATIONS:
   1.    The patient is to continue with his medication as prescribed and directed.
   2.    The patient is asked to continue with his conservative treatment program here in the office.
   3.    The patient is asked to return in four weeks for a follow up visit with the physician.



                                             David Di         .D.
                                                                                             !


                                                                           ^ Cy          i




                            t
        Case 3:19-cv-00330-JWD-RLB             Document 1-3             05/24/19 Page 22 of 25


                     Westbank Physicians Rehab
       4140 WESTBANK EXPRESSWAY    MARRERO, LOUISIANA 70072       PHONE: 504-341-4822 - PAX: 504-347-7752




                                                              1          - . ;   'i •. M . '   U
                                                              Li j




                                        November 7, 2017




Peter Brigandi, Attorney at Law
1630 Franklin Avenue
Gretna, LA 70053

RE:    Freddie Alexander
       SS#
       D/A     September 18, 2017


Dear Mr. Brigandi,


CHIEF COMPLAINT: The patient comes in complaining of back pain, leg pain, hand pain and
wrist pain.

INTERIM HISTORY: Mr. Alexander is a 54-year-old male patient who is being followed in the
office for injuries related to an accident that occurred on September 18, 2017. On this evaluation
in the office, he is complaining of constant back, hand, wrist and leg pain in the 8-9/10 range. He
states his pain is aggravated by any and all activity. He complains of having trouble sleeping at
night due to his pain. He is complaining of numbness and tingling in his legs. There are no
complaints of bowel trouble or bladder trouble on this visit. There are no new accidents to report.
He states the treatment and medication prescribed here in the office is helping.

PHYSICAL EXAMINATION: This patient was seen by Dr. David Dunn.
NECK: There is good range of motion of the lumbar spine. There are no muscle spasms noted in
the lumbar paraspinous muscles.
BACK: There is pain with range of motion of the lumbar spine with tenderness noted in the lumbar
midline region. There «is tenderness and muscle spasms palpated bilaterally in the lumbar
paraspinous muscles.
CHEST: The chest is nontender.
HEART : The heart shows a regular rate and rhythm.
LUNGS: The lungs are clear to auscultation and percussion.
EXTREMITIES: There is pain with range of motion of the bilateral hands and wrist with
tenderness noted.    There is pain with range of motion of the bilateral hands and wrists with
tenderness noted. There is pain with range of motion of the bilateral legs with tenderness noted.
The patient is complaining of tingling in the legs.
         Case 3:19-cv-00330-JWD-RLB                 Document 1-3        05/24/19 Page 23 of 25

                       WESTBANK PftYSIjSIANS REHAB
         4140 WESTBANK EXPRESSWAY • MARRERO, LOUISIANA 70072 • PHONE: 504-341-4822 • FAX: 504-347-7752



Alexander, Freddie                                                               Q] COivif
Page 2


PHYSICAL EXAMINATION: This patient was seen by Dr. David Dunn. Vital signs: BP:
165/95. P: 64.
HEENT: The head is normocephalic and atraumatic. The pupils are equal, round and reactive to
light and accommodatiofis. Extraocular movements are normal. There is no tenderness noted
around the temporomandibular joints. The ears, nose and throat are clear.
NECK: There are no surgical scars noted over the neck. There is good range of motion of the
cervical spine. There are no muscle spasms noted in the cervical paraspinous, trapezius or
sternocleidomastoid muscles. There is no thyromegaly.
CHEST: There is no chest wall bruising, swelling or tenderness noted.
LUNGS: The lungs are clear to auscultation and percussion.
HEART: The heart shows a regular rate and rhythm. There are no murmurs heard.
ABDOMEN: Soft, nontender. There are good bowel sounds heard in all quadrants.
BACK: There are no surgical scars noted over the back. Lumbar range of motion is limited
secondary to pain with tenderness noted in the lumbar midline region. There is tenderness and
muscle spasms palpated bilaterally in the lumbar paraspinous muscles.
EXTREMITIES: There is pain with range of motion of the bilateral hands with tenderness noted.
The patient is complaining of numbness in the hands. There is pain with range of motion of the
bilateral legs with tenderness noted. The patient is complaining of numbness in the legs.
NEURO: Deep tendon reflexes are 2+ and equal. Straight leg raising is positive 45 degrees
bilaterally. Strength, motor and sensation exams are normal. Cranial nerves III-XII are grossly
intact.


CLINICAL IMPRESSION: Motor vehicle accident of September 18, 2017 producing:
  1 . Lumbar strain and spasm.
  2. Leg radiculopathy.
   3.    Hand radiculopathy.

With the patient's history, complaints and physical findings, it is my opinion that the above
diagnoses are related to the accident of September 18, 2017.


RECOMMENDATIONS:
   1.    Ibuprofen, Robaxin. All medications are to be taken as prescribed and directed.
         Appropriate medication instructions and precautions were issued.
   2.    X-rays of the cervical spine, thoracic spine and lumbar spine.
   3.    The patient is to begin a conservative treatment program here in the office.
   4.    The patient was asked to return in two weeks for a follow up visit with the physician.




                                            David



                           9
        Case 3:19-cv-00330-JWD-RLB                 Document 1-3        05/24/19 Page 24 of 25

                      Westbank Physicians Rehab
        4140 WESTBANK EXPRESSWAY • MARRERO, LOUISIANA 70072 • PHONE: 504-341-4822 • FAX: 504-347-7752




                                                                             H CG^riDEMTlAL

                                           September 25, 2017




Peter Brigandi, Attorney at Law
801 Kepler Street
Gretna, LA 70053


RE:     Freddie Alexander
        SS#
        D/A     September 18, 2017
        IOV     September 25, 2017


Dear Mr. Brigandi,


CHIEF COMPLAINT:          The patient comes in complaining of back pain, leg pain, hand pain,
wrist pain and numbness in the upper and lower extremities.


HISTORY OF PRESENT ILLNESS:                  Mr. Alexander is a 54-year-old male patient who was
seen in the office today for injuries related an accident that occurred on September 1 8, 2017. He
states he was the restrained driver of an 1 8-wheeler that was stopped when struck in the rear end
by another vehicle. He states he was able to get out of the vehicle and move around at the accident
scene. He reports light damage to both vehicles involved in the accident. There were no reports
of head trauma or loss of consciousness. There are no complaints of headaches, dizziness, nausea
or vomiting. He states an ambulance was not called out to the accident scene. He did not go to
the hospital for emergency room treatment. He states his pain was not felt immediately after the
accident, but later that night.


PAST MEDICAL HIJvTORY: The patient does not report being involved in any previous
accidents. He reports being allergic to Flexeril. He is currently taking medications for high blood
pressure and diabetes. There is no previous surgical history to report.


SOCIAL HISTORY: He is married with two children. He is right handed. He is currently
employed as a truck driver. He has missed two days of work due to this accident. He denies the
use of any tobacco products and drinks alcohol socially.
          Case 3:19-cv-00330-JWD-RLB                 Document 1-3         05/24/19 Page 25 of 25


                       Westbank Physicians Rehab
         4140 WESTBANK EXPRESSWAY • MARRERO, LOUISIANA 70072 • PHONE: 504-341-4822 • FAX: 504-347-7752



Alexander, Freddie
Page 2                                                                                    Q] CGUv V

REVIEW OF X-RAY REPORTS: The x-ray reports were received and reviewed.
In the cervical spine, the impression is:
   1.    Osteoarthritis of the facet joints at all levels.
   2.    Moderate degenerative disc disease at C4-5 and C6-7. Correlation with MRI is suggested
         to rule out spinal or foraminal stenosis.
   3.    Reversal of normal lordotic curve of the cervical spine indicating muscular spasm.


RECOMMENDATIONS:
   1.    The patient is to continue with his medication as prescribed and directed.
   2.    The patient is asked to continue with his conservative treatment program here in the office.
   3.    The patient is asked to return in four weeks for a follow up visit with the physician.



                                             David Dunn, M.D.

                                                                               t
                                                                   /I




                            t
